                                                                                 Case 0:23-cv-61203-AHS Document 34-2 Entered on FLSD Docket 07/27/2023 Page 1 of 34



                                                                                                                                                                                          Investigator Name: Chris Stavrou




                                                                              Evidence Collection Report
   Page Title
   American Trends Beanie Hats for Men Winter Hat Smiley Face Beanie Unisex Knit Winter Beanie Hats Cap Coffee Hat at Amazon Men’s Clothing store

   URL
   https://www.amazon.com/American-Trends-Beanie-Winter-Smiley/dp/B0BNH5L5LP/ref=sxin_17_pa_sp_search_thematic_sspa

   Collection Date
   Tue, 25 Apr 2023 09:51:12 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   J/mNrFiD3AiTxOwrEzaxeedaSyiSKC6xUffn3ca8f35FByzf5pO5ahsLxjY4GOzfFH5dVNRBksrUGHV/afXD9RH4H6WmmrRdgdIQaJf4C4s007UQ1fWjKJjBZ2CmVbvn4p37Hmu4fkJbA8jxpsJ/WSntPiBv4oRFhi22fIWSjPI=




                                                                                                        File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]American-Trends-Beanie-Winter-Smiley[fs]dp[fs]B0BNH5L5LP[fs]ref=sxin_17_pa_sp_search_thematic_sspa]]_Tue,-25-Apr-2023-09-51-12-GMT.pdf

   Hash (SHA256)
   62f34c9cf5fbb426c41cc8f4f42bc417897602ed2498d747dba7e83f2754195a

   Signature (PKCS#1v1.5)
Jiun/Nc1HBt3MLM58mle0uRPuPmMrYIFlSHi+aI4Vynn+rUrLq1CHufYc6LBPgqYu3OPcW0KfZCR4EFj8LIrbZS8EDlihhO/bj0DfxF17jaELXIMhWIZbS/BOazB7EiIaiwbop0ZMfIUPa7azrlmDEJJ8E7jVQCOtlWQxAS8Ebs=
                                                                                Case 0:23-cv-61203-AHS Document 34-2 Entered on FLSD Docket 07/27/2023 Page 2 of 34



                                                                                                                                                                                                               Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Mon, 29 May 2023 16:00:43 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   116.68.102.163

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   HzVSef+wBLVpPC7PN+BASrGG66smVPfFuvlWf7/LEd2yICfmhWkbebZ6tPXQkErbq9W9o3yRLGdi8MIqKdnHgzTQ75JpwykPVCtTYBeiJZCxMHIjAmWnEyDys4tguKNeSzVJ6knye8ErUyrKggT1O7tkvNrKYPmMh80r6FqMOpokPIR74Qwk/
   tJqADiTdfbXQH0wrVdC3uemDYZuM9hs4RMQ6zaHAMuYWwMFBC0HYUSpvoMwmlO7fWOJ0FkL5frJ8b9kfVJ3e2Y8Ql7sxyf1uFMz4qjgLm2x17qlb4bIvD/4mjxUMXtKa9jDzfVHi7uOBsNQ5Mq+QEsIA6W4lYtvGA==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Mon,-29-May-2023-16-00-43-GMT.mhtml

   Hash (SHA256)
   33ae4f9cd71f9df7468dd08efb7678c04929cc543a6c812bd2738961e3109cf8

   Signature (PKCS#1v1.5)
QkOOvxmEA/6L6EI6u/chl5CoUt4aNPDIWN9A/Pjmw0LTznDLs6rr7JxgKgkgsWcuGrzLj5HJ6OMrN/au2LsYKr1cWYicv1CBkfKkqyxVcu5zFAeQ56h42TD9P9NuWsyfMn9tLFUDsfCLoOdaFK/bE9h90tZ+JLaQ2PeMFViQPWSZoGfQL+RA6AZxfGAQyfvmBJAnTNs6KMeDyGlG5YpzsfmdQ4LRK
+J4wfVXvGUCStALifKacdcizL4/Ae2rJ1WMCyBGgrbdJtvAWa9MClTHyZOMMaFs+xfke0HSgnBKFai6EkE6PzDxotvRdNOliPyzrKUwM4791p+YUf8xldcZgg==
                                                                                Case 0:23-cv-61203-AHS Document 34-2 Entered on FLSD Docket 07/27/2023 Page 3 of 34



                                                                                                                                                                                                          Investigator Name: Chris Stavrou




                                                                              Evidence Collection Report
   Page Title
   Amazon.com: VOHO Y2K Jewelry Aesthetic Necklace for Teen Girls Women, Flower Fruit Heart Yin Yang Polymer Clay Beads Smiley Face Necklaces, Cute Y2K Choker Pearl Jewelry: Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/VOHO-Jewelry-Aesthetic-Necklace-Necklaces/dp/B097TDH11N/ref=sr_1_99

   Collection Date
   Wed, 19 Apr 2023 11:57:57 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   l+zN4zf7T50vMzLDoZdsU+QpWKdH3LeBKemgiYOakuqg0DVmvsNxoTs37re4gwsBG8XMpMPMxBsKAT/1pIabOU4TnNplCVGgvHmq0hJmuta+6ywJZax3H/fmh2/4LIHnLNjAukDr72zIKJ5NRsurf1nwbA90hwQO7r5z/KaTZjk=




                                                                                                        File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]VOHO-Jewelry-Aesthetic-Necklace-Necklaces[fs]dp[fs]B097TDH11N[fs]ref=sr_1_99]]_Wed,-19-Apr-2023-11-57-57-GMT.pdf

   Hash (SHA256)
   64f5ae64d8050d6b26aed111529ce22811cd415ace18510c287b7e5d366231f7

   Signature (PKCS#1v1.5)
J7/LH8t7IAIXghR/6GpdwAZSD2sHRdr86YmnND1j/gGq9XQHoR3CF5rg+742ZWWe99at87ierdFRr8zLetCi7dns1tfrJcGmz4Npw67nTCxlgKmcq184PV67Z88bR9pjdm5/AQSEWDU3I3y2YSNm7BqpUFa/XkZkYM6hdh9GNdw=
                                                                                Case 0:23-cv-61203-AHS Document 34-2 Entered on FLSD Docket 07/27/2023 Page 4 of 34



                                                                                                                                                                                                                   Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Wed, 17 May 2023 09:45:53 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2001:ac8:9a:d::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   BaJZxKnYS3FpZRsS1Ohc5EDyvRUxWlwEkdnrVOVugQ4rJtrlsjgxs6VOsinnDRCDuAy73Wvs/qzsfR+P06JdTQ61iYhhAyFaUQEnOrgw6uo/
   jcFrfKvh1inGPotwYmh2TLL9cKWMN0aXifGSiu1tAozJCPCC4HZE5V5qM4Ultzydy0sahzlKBCMfkOxw4u0P1s9oVdtnI962VHbLudTJCxx1mFLCP64KBgrUvXaUBE7MBIMkGojtbWGxI7ziuc45ni3zRjhAbGdeG5BA4K63F7vbgwYPZvPj/k04zMRdRvJ9KMynL94sGl4Lm
   +vk0rYTVtTEs9Bx8yKV/6R0gb06cg==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Wed,-17-May-2023-09-45-53-GMT.mhtml

   Hash (SHA256)
   1d6f0b62177524d3b9821be9a6bda2a89bdb4d1afc5a917294750be8772be95e

   Signature (PKCS#1v1.5)
B7WKdqxlgwHF2W84lApUkEK1sq0wirLEgIutqylCBVIUJMlZPnIuHhnQVe9KsMWLAddMu+4I3Q+BVGXqEs9vREgEKiU665OzjnsMweECKI29Bk3uWggDY9ZrH+ltn2VNCItYwuo3j2TBHI/yZbpjaIMxbWyBonPYYGGINS3votsf8dt2gXe3cPKRa3qQVFhp7IeD3U5KV+sm7wQ+f6z1WjjSq/
wW4+vteNqJCQ82N9ofmnENx+gYJE9aBBzb2AOCYUqPRrmPX4WuvZpuayXOJgRlenIxpCLo867zGjQB7p+myEcLeSCnoL+QGkXgu09cN4josVvrsOCeqROMZNb7tg==
                                                                                  Case 0:23-cv-61203-AHS Document 34-2 Entered on FLSD Docket 07/27/2023 Page 5 of 34



                                                                                                                                                                                                         Investigator Name: Sarah Christodoulou




                                                                                Evidence Collection Report
   Page Title
   Amazon.com: 360 Pcs Fruit Flower Polymer Clay Bead Charms for Bracelets and Jewelry Making, 24 Styles Trendy Cute Smiley Bead Kit for Bracelets Jewelry Necklace Earring Making with Elastic String

   URL
   https://www.amazon.com/Polymer-Bracelets-Jewelry-Necklace-Earring/dp/B0B2P4VY4L/ref=sr_1_69

   Collection Date
   Wed, 14 Jun 2023 11:15:09 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:36::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   SEEF4OTF3hQhPFwKg9b2P/6XiqgtmZE/hbtbSeowHNck5myj0l9jQoHfi5Z7V+MEJXljtpjzHIa9rWPdeYX1SM0mCWGzwQx/BzTG7syGc24YpSvVMNzxFH/3TX47hC10khiZP5V6c58GurE7NT5rN0aroVvV8jIGNjyREtr40C4=




                                                                                                          File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Polymer-Bracelets-Jewelry-Necklace-Earring[fs]dp[fs]B0B2P4VY4L[fs]ref=sr_1_69]]_Wed,-14-Jun-2023-11-15-09-GMT.pdf

   Hash (SHA256)
   dd16bb60c77dcfedfe797120860d5ec7a03c5bbf6526e248ae768ff6e84f637e

   Signature (PKCS#1v1.5)
HT81RHnDCQCu/cON6UZNQI3DomuPsavDbDHG2++lpzy65mxU0cpZGiDoYYDK8wt0YlgVNpMWLPhJKy7KhJUuYM7LM+eK1MI0TU0PmbH7KMwSYHheotCwRqV8LaaoTwPxoSRqr65sdekVnuRAugCBq0e92ApibJlM7TZ8n+rzjAo=
                                                                                 Case 0:23-cv-61203-AHS Document 34-2 Entered on FLSD Docket 07/27/2023 Page 6 of 34



                                                                                                                                                                                                   Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Thu, 15 Jun 2023 09:16:54 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   202.83.41.44

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   am2omJGP3lLxMUDVcszsflttfhvsOiVeL6M1ggp3wlCx1ZRKih/fsCycNE7JFpYDuxCzuz7OFuPbD8+BicNd+ND00oz2VTieUOOrANcABb0mXzPxL15fKEaqbMlLBsmxlU9GHWq31KH9xdFa4MiNKnWDxe/
   lOFaZLY5b5jj24RFCyPxiAq8sUQn6o4j8x2Eqh6D0UGpRb64PTS22f0ovE4ZDLrj3MXYv6iVmlNH+dzuevPHpBZxAel0njMW1xoGnDIgKYPy4cCgt8okLqujaXSbNRTyMNcrt2By5/EBhy0znuK+T4rylMiN1shO2aiAL2OwA6DWIwndSDS445LdJQQ==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Thu,-15-Jun-2023-09-16-54-GMT.mhtml

   Hash (SHA256)
   b65dba11d6b8fcfd8f8c1e1dc58ad5cf5e57d864f8af90ceaa53f5a78ec8edc6

   Signature (PKCS#1v1.5)
oXEO4KopkxJ/zlxfxwUXhVKqENF2eg8A0teGzs5ENR7uKtSahJD0VNwUsOJcCayDr5KxtXzJs4YvBEY+EwO+x+1fICqOKgFeFpQ0Xbw0X12AFZa6fnihLLx6vbPog/QA+3CaCvv1riFzc+tdXdh8FIhclSUHiw62X86BBVSuzKyhR/
YKZYV1g7Hp1DoxjKbk2c2U89hHw/4MDX2EuCNNG3YCeNj7McNI3vUeS/pobJi/OAn4SYSMrEbE8k8NwTfxRazIaa/SVw3B6glzDtPVUBup3bwSESVi8HKqkWAQGh6AWoUTuw1rwp/WIkS6YyJwX4xnZy5CFNBcaTfCIMWk0g==
                                                                                Case 0:23-cv-61203-AHS Document 34-2 Entered on FLSD Docket 07/27/2023 Page 7 of 34



                                                                                                                                                                                                         Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: Romantic Angels Smiley Face Tapestry for Bedroom Teen Girl Preppy Party Decorations Pink Cute College Tapestries Hot Pink Stuff Wall Tapestry hanging Dorm (51 L× 59 W) :Home & Kitchen

   URL
   https://www.amazon.com/Romantic-Angels-Tapestry-Decorations-Tapestries/dp/B0B6377P8D/ref=sr_1_204

   Collection Date
   Wed, 26 Apr 2023 05:25:14 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:5::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   C0Kee/pOQbo0OlnKFy/dDaTVg0TcqnE9666pAJkqGvhJE11lbWsi3uuk5ViFLx+07aMd9VrSdbrSBCqL2eEhmTnbJ6GE9JHzxx6HlYMZ1I0bCzQrUxqY+EUhmXMWhj7PVBeIlmXIm0Ia7yxxJB4TqLTtEERcw71+Cu9IIZfCWuw=




                                                                                                       File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Romantic-Angels-Tapestry-Decorations-Tapestries[fs]dp[fs]B0B6377P8D[fs]ref=sr_1_204]]_Wed,-26-Apr-2023-05-25-14-GMT.pdf

   Hash (SHA256)
   5463f656f9e8efbaa3217cb2ca6e304d14b12cacbf045e4c681a530e91b9663c

   Signature (PKCS#1v1.5)
i1ZPgR2BNmvhZOmpLA6z5WLG+DFOl6VglFjipDEt+UHUBfGmhn87xf16eX81j/sDEwTFihjF9NeagMuAboTUlx5fCcfiORXvhIyZzT1i7YPzrKG8UBQ09MnHwJ3JEWFyp8w/4QXiRMPEyMsfs1ovPh/IjA5SYL8Xgtn+kenPco4=
                                                                                 Case 0:23-cv-61203-AHS Document 34-2 Entered on FLSD Docket 07/27/2023 Page 8 of 34



                                                                                                                                                                                                                  Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Tue, 30 May 2023 23:20:41 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   111.92.77.63

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   qB7jv51kgthKYCUWHmHs3jubxIAKnJSh+QlGmWpPWLl8yV8T5SF8XGqDV8JIZ1uVG1MKCTirGNbei5lPISbRLNygjvK9u56PF+TJ8GI0jah7vjVJAeValp36tcvxXyA0J0Vh5s4lV7GhuJZqSudhhKbo3H2oA1fjLXCc/4mHqcMjHqltKRehzcsZZXRW0JCnB9exG/
   S5XvTQMX5VvALOfVbQIHFNBc0hn2ZlU0ZIhe+sTsX6JWmymFSgi7h+/YEkNB2CI9X4TLsV80zI7GSjJ8UnxVgEojV8pX7vzSuafQBrM9AOpV+AANgBvxxZu/UZeZB9IqmFARNPOKKY8x36KQ==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Tue,-30-May-2023-23-20-41-GMT.mhtml

   Hash (SHA256)
   37e39e20f6b335cb9c19eeb17c17c59fca20566a893fc358b1408def07c45b47

   Signature (PKCS#1v1.5)
YgVHrNXr1FFRK5RE+uGt/kRY/vlxQ2xpJo3gueyGgxNAdew0zsVAb/qCQq5Bvlxu0OGy1+onPsSexgP66M+3BoYkoJoWWTzMJoFVkCqZPz/jCxBT7h4dHZxT6y56DExv6dNOcooJ4/ucpxVxrUSybL9jALG4gUzvjEtfmWQZDqlkQ30FH+BA7jE1K9eRfxtxDXtWxoyeU5qpjSQnB7zytK+jY+x9r
+H47Xxubpg9+qbIQTaoKWOiEOsAH3cNXRTtgnkaVremCJ0UT3iNYCQEjMAYZENbSQzBuRESQrxPJETgGEdRQBzCdSHzEPHPZ4aJkon+AFJSi7MUBcsWPByM0g==
                                                                               Case 0:23-cv-61203-AHS Document 34-2 Entered on FLSD Docket 07/27/2023 Page 9 of 34



                                                                                                                                                                                    Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: XIROMUN Makeup bag-cosmetic bag for purse corduroy makeup bag Women's Handbag Purse Smiley Face Makeup Bag (Grey smiling face) : Beauty & Personal Care

   URL
   https://www.amazon.com/XIROMUN-bag-cosmetic-corduroy-bag%EF%BC%8CWomens-Handbag/dp/B0BWH9XV4Q/ref=sr_1_163

   Collection Date
   Fri, 21 Apr 2023 07:39:48 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:5::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   oKEYAR9oMKxyJv9YBZJ5c9RrFcKHIwgoIA101zcSEY93jSIgaxYDxNnsqXtBhnvmq3p5gxURuFg+I+O30R+yEpND0veW4X76tZL5vl2M5teF4Xytyaz07jzVIeNuUPqnI2CUZ+y4X+vjz1qYjHfPaxHt3j79kXIpr+s88e3AFZ0=




                                                                                                      File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]XIROMUN-bag-cosmetic-corduroy-bag%EF%BC%8CWomens-Handbag[fs]dp[fs]B0BWH9XV4Q[fs]ref=sr_1_163]]_Fri,-21-Apr-2023-07-39-48-GMT.pdf

   Hash (SHA256)
   fd37e5e4e21245b23d62ee640c91cf56bd9eb3d29ffc6b0dbd9c8472de8a663e

   Signature (PKCS#1v1.5)
MqXVvcBy8Mp8+EmfFI+iiHunrDr8DgpK4qJSh71Hgah3JWG4i/w/3iDOqI2UjwPM/qnENR+DNJjl0E9YCP0IlCrq8f0/Jv34tV+H+NY3HGzjdPXTIAZq8YygdMrf0e4yv1U4HWqj5fnzfFPe7ob8ij1xQQClo3vaKrUbf5qQsnw=
                                                                                Case 0:23-cv-61203-AHS Document 34-2 Entered on FLSD Docket 07/27/2023 Page 10 of 34



                                                                                                                                                                                                         Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Mon, 22 May 2023 08:18:15 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   aqQZZilj/K7/47N7+/+U/Y7MnIGFnutKkK83RKdTtKD+2XxIgQZ6GS04vvkB6u7XtH1XhjyXy3oQd99ATMGkt+byst9Ja9THybz1vCai7jSi4tbh+0DNJSbz6Ia/7Y/YaWrmLu34OlWhIvJ8EjEAQYLcloZHpTeL3yw1Yno1Eg/uVADMRzys2vjvhDM2ntCMSQ/
   SwYYj4D2zxO0CXegq7i8wM4SQAjM6O2URPgddtHsFNXKLYBclBXNx9qzBcu139/5hns1qhFVrOj2nGsGVw69Nscy8W/QrIrVNfzdRmWaWO4kXoCFASWyHQuwh+mrnSxg43WINEIiLAljFe52TTw==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Mon,-22-May-2023-08-18-15-GMT.mhtml

   Hash (SHA256)
   68c2e4c37563e823d82ff3cc830eaffc97ccbc0918c1c9abe4fa6dab94c08294

   Signature (PKCS#1v1.5)
YFbGt5TBYm/qNNFmk19P8kTV4VdFnCSHu6DB1QLxQ7ltzHihaGTVCxT7XS5y6cFMulMR22Lj8BOWKUFacDA3g0keyGu0WDby/wXigdpUGq46yA06jfQU/cgTW+dXN59+wFrvKt51NWhmdE3lxA
+r19Rh8caMAl8TTCVYEJQMUSyRG8wf5dwWTVhEOUz9P32t34CzTNnLHeSSbL5f8Fg51pbp1v8imW6WqOw4hji2L3m1brno2d2wNM0Ie5nquyDhaGqt7OaTxAP9uIjxwj0y5VWAQ2AyFUXAPFn2QG1DrRhvv8LeIxvAmHCD/jHpprCTuSh4AqvBW7n/0GL66nh3dQ==
                                                                                 Case 0:23-cv-61203-AHS Document 34-2 Entered on FLSD Docket 07/27/2023 Page 11 of 34



                                                                                                                                                                                                                    Investigator Name: Chris Stavrou




                                                                                Evidence Collection Report
   Page Title
   Amazon.com : Anley Fly Breeze 3x5 Foot Pink Smiley Face Flag - Vivid Color and Fade Proof - Canvas Header and Double Stitched - Happy Face Flags Polyester with Brass Grommets 3 X 5 Ft : Patio, Lawn & Garden

   URL
   https://www.amazon.com/Anley-Breeze-Foot-Pink-Smiley/dp/B097BKSC2S/ref=sr_1_144

   Collection Date
   Wed, 19 Apr 2023 10:24:36 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   lyNSnjgtOMtsOKIhnSseTLu7O6cIy8Oc6AyNZ2dUOu5JqryCo5M+jx9AwRQgvjdcoA5K0sYaeILsm4F2AiogeC0fXz/7eOwFXV1wZkYQ5bkXHUkUfa4rqwSJyMZoc37Owb02GMS4x9Nb4ue8uhZcrnz8eqp+8KsYr1DvH9xbung=




                                                                                                          File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Anley-Breeze-Foot-Pink-Smiley[fs]dp[fs]B097BKSC2S[fs]ref=sr_1_144]]_Wed,-19-Apr-2023-10-24-36-GMT.pdf

   Hash (SHA256)
   aab75f476311e4768efde006885b6a952976b8c10eba39d6e7d9f1180828acc5

   Signature (PKCS#1v1.5)
RBYYpGSsE1TCH2hgNyLwWbR02n+sAcfoNo6MP3UawlguagD+OeMw+7q8lWSZvQCmQp8sRvvOKKoobQM+7+yxU3olOHhL9SJ9nEoUgcmIem+nyTd24qaIaTMM+YmL3bDrAB4KwGqNIwXPGXfNzT1Leqp991+ziF3nNhsrrpBLYfw=
                                                                                 Case 0:23-cv-61203-AHS Document 34-2 Entered on FLSD Docket 07/27/2023 Page 12 of 34



                                                                                                                                                                                                           Investigator Name: Sian Kelly




                                                                               Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Fri, 28 Apr 2023 08:12:38 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sian Kelly

   IP Address
   185.230.113.27

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   F4i2cPZkHtTg1UqwqZxMv3LWqz1c6Eio8yxFBtTyv8VBMJMGoIEIC6cbUvGC5uQ/iUX+msveUW1Uet/qmbILgXCKPZZoY2YVfsQqDFViDalyJa0MX63oO4OGPu53GoxOjDhS+P/PBUjEzau7YA05ZniGurfVy0aTBE6hdP6/
   rhGyfyrFUcRTN5i6K0byvXxRyZqZ9Km6DskRC2aSH4FH4yzjEHESWEckJARYpm+MBMbCKODoway7hmT5DKHzjpAxvJJnwVpNE8/L/asiTL5aU/LEhgyuemG8EDnqLrktejD/5uVbFbpjIYUqvzLouEI1DsOdawH3yJtG4FLD948TQQ==




                                                                                                         File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Fri,-28-Apr-2023-08-12-38-GMT.mhtml

   Hash (SHA256)
   dfbc94052fc3afdd000fc7732f37b36719e3d1a3f87629f8a989bc38c2706359

   Signature (PKCS#1v1.5)
pOMmUxZgc2Y48sV7j9S9t0A+4ytY+FKQMRnF8zfJug1OUxyQ3HLwoGJVnvfj3jbbniyNZjCoQZdJmzifXQcubDhpq/snrYpbRlZoasAdCz7zuUXkaQVEc7pVp9hKVGn3spHFnN/FO2L476J/
PTCW9mwVN4Pidid9iwZk3jxEPQX8YLxm5lAgeH894RckcgcKhETa0Bjjggoek0KMYvBsCgeLzoGlju16ALd2NZmideAj3ity/8FZIAv39Vcq2YPKi8ahigGsntPUWCU34GamdzvgiG3AifjudTF930NzbSzPnuCd+9qCY++j930yTgpvllpFaFMZ0MU21BdpxBKGYw==
                                                                                Case 0:23-cv-61203-AHS Document 34-2 Entered on FLSD Docket 07/27/2023 Page 13 of 34



                                                                                                                                                                                                                                         Investigator Name: Sarah Christodoulou




                                                                              Evidence Collection Report
   Page Title
   Amazon.com: AnnoDeel 8pcs Fruit Vegetable Foil Balloons, 30inch Adorable Smiley Face Fruit Balloons Strawberry Grapes Orange Carrot Broccoli Tomato Banana Corn Balloon for Fruit Theme Party Baby Shower Decoration : Toys & Games

   URL
   https://www.amazon.com/AnnoDeel-Vegetable-Balloons-Strawberry-Decoration/dp/B0972QXWYT/ref=sr_1_65

   Collection Date
   Tue, 09 May 2023 10:21:44 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:93::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   AiQmv7Kv9OLHFwhLEEdnMUWW7laXuKCU+hnDSpXq1/hMhFOCW9AnytLfnrT4QRQ4RqcDlKgBb00UROPDjDOO/SwWMsVnLS8RJ+T6YaXeWtzaOd97g9bio8273xH5p+X5do53LMuRE64VuCeO8HbDIhk8bs9X3N9jB1xL1VMRal0=




                                                                                                        File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]AnnoDeel-Vegetable-Balloons-Strawberry-Decoration[fs]dp[fs]B0972QXWYT[fs]ref=sr_1_65]]_Tue,-09-May-2023-10-21-44-GMT.pdf

   Hash (SHA256)
   6582c567e3f9d2b880157fe028dd4ae8d4d78407b9a53d929e423980fea876e0

   Signature (PKCS#1v1.5)
AqzV3MtDP99jh9APvUmiJRPDA7iKvRO56iOVG1nBJdXyaif46aCINJLF2+Iv8XwIOe8dpDe4Pru98fZu9CQ6xMq8q7zNcp1dFxzaoy9uYozoZfSDwvNquHAvTu1mJihZiMSSnyABbZnVkcYaY9ECmaa5G0IbSdpw5HrXVJEoq/s=
                                                                                Case 0:23-cv-61203-AHS Document 34-2 Entered on FLSD Docket 07/27/2023 Page 14 of 34



                                                                                                                                                                                                            Investigator Name: RemoteUser2




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Mon, 15 May 2023 11:21:33 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   RemoteUser2

   IP Address
   116.68.99.108

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   HBDvvm6q5k4evT0lhNQRyldzD86XxDI4KDVWLNti9nHRURYVnWHaXPIHGAn34QR4xL5jU2DJY3axoftrLd7iXUJyMIyIqvjzFzDrZJ/pGVhV7c00AAccQHuIU06aXVCkZ1EGL5SaF52mRz9JtpDzJEgLvqnRY/mBJTj6VhXtV0KfAjaBDHjMBKki54lhCX0AdMSPEPjQHNbPhv+a8fZo8IceM4A
   +A01Q3NHBzwzPOoRtG9l1sFnKlmDfZUkpKXDSZDD9WAk15X8KChZFyEljnryuAHFIFx9v80a6GaM7dSqKKFABFPt1XWRYc0X0CNcedXIaMkm4/88zMkuP4t++QA==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Mon,-15-May-2023-11-21-33-GMT.mhtml

   Hash (SHA256)
   a2e70a449edf94125486d6276685f922b800c91ee50912b4505ecc5f92bab848

   Signature (PKCS#1v1.5)
R9ZzbSqSIyqp3kh7hi8GPIh5On7nxyDTEtY6Rn38ckePZ7scNEDQJ4lqIleB20PdahHYeHaQqWqR5t3XBlzTDne5ivQ5GhDWttiqz+FIcwbJoTcHodHOoFUDDUCBQ6/Stgwr+zJ1DxCejhz1WuxJhPQCrHT/5NeQfJyzA4oEScef2f+cHjdcdVDSiS/
oskcHxGQOXwLn0CJgFDCo6bX01xOBmKFuzPE5SfrUM7sNUFbhAawRKMkldU9JWgEj9QrZktVfYwP1VP6eZ5ibw9jx1OI8B8AwxKi1KH6aZildYK4qq/IL5MFCandmQE5J/CUI6u+eVzWitRDYMCJTnk/lSw==
                                                                               Case 0:23-cv-61203-AHS Document 34-2 Entered on FLSD Docket 07/27/2023 Page 15 of 34



                                                                                                                                                                                                   Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: ZTHOME Smiley Face Cute Ruffle Cotton Women Socks Fashion Embroidety Simple Short Socks for Ladies Funny Woman Socks (Color : Black, Size : One Size) : Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/ZTHOME-Smiley-Ruffle-Fashion-Embroidety/dp/B0BW5LCSG9/ref=sr_1_93

   Collection Date
   Fri, 21 Apr 2023 10:09:19 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:5::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   j0qzxsi+7V27JJNjFE7z7kY4nhHBYkbxc5kWW5+V1EyrZKaqSglUPM/NcGk4GcAXKSccClmhiZwGYH/0WLr7gBF9cBQTieeo11T909iuNEsvgr3UCNIqUSzRQ6ErF3wlJIZQL7SlHZwYoK1utHYY+Ov6CEoviUZohbS2gGbW6LQ=




                                                                                                       File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]ZTHOME-Smiley-Ruffle-Fashion-Embroidety[fs]dp[fs]B0BW5LCSG9[fs]ref=sr_1_93]]_Fri,-21-Apr-2023-10-09-19-GMT.pdf

   Hash (SHA256)
   223fc6d15101f87340157ff0c3a3fa207eeb6d2450fb398074b20c753ed24421

   Signature (PKCS#1v1.5)
qjNB4e/2hiKqTASsrbx3z7Wg51XCaTN9dsp9e9kcmh7Yf1y2mc3xuRUw1cNDvmLIme2NwHOxCyFoH1kWhQMU7kiCw/oyBK65E6RSj3hKsfeTkYVcVA4dgLaW4ExB2b43HLYgJ10Z8FI1Ao+5/8M9qucghceTvbWXzNOpsIViBLM=
                                                                                Case 0:23-cv-61203-AHS Document 34-2 Entered on FLSD Docket 07/27/2023 Page 16 of 34



                                                                                                                                                                                                   Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Wed, 24 May 2023 07:03:58 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   111.92.80.105

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   fQbMQSAOfFrI1CWo7i8tbTdjybTxNYV7p88/HSXS57TBNCGExkWHBhJyzaek6fNtwAPpuhlI3PTRW+5VChgLFb5zi+shzfHHCaQgJ4/EkCraefGchwY+56F2YtRy2Q2u57FGFWXQa620ir7UVv0WLQuKGpYLdEQwRtfqgRzQ2F3gBz1DuQPVXKBIgEbQ/
   vt4JyQH96k11B5p5cJrcHMTVMTC6UjcFPix6LfXCW7EJU6m9yjys0r+WbAuBXtfOMQI8clqRDVdnqfY1lY9bn3dt1aDJnAAXX57Cp6sCBu0s0JWEswIr0kxbQ+JIn7gbvMQ2HttDaBQc51NRamazz0Shw==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Wed,-24-May-2023-07-03-58-GMT.mhtml

   Hash (SHA256)
   d59cdfe5c338b5333bb4fff06e43581e9f8e2838aca0d1a97b83bcf44ed6aaa6

   Signature (PKCS#1v1.5)
cSTmcF8kjj8uTpYO3tVAYxwdpfR/eMuHI9Zth+2M/rhSwJDHOgfy1H2GCXhIkiN1rofM4ezO2YHMoilb9B941KmjH8jVBnpLR+OwmShTNcruP5jhi3QblDl/3yXBDeqn9JURw+/fz69JULn1A26IfE7kgrxrTlmomT2qP5RTQLtvZ64Wjk2r
+QOj62X2z0No0T136jPsQF5ahxtv5I0+vfWpPDHuRyMdd49WVJtqsMEglWrpY1TiKV3J+PlZtWXqNfFmq6HWCGBedma/yS5ORW8DBta6yDBG80yj+rZa5/9bV4hcPxnk2Ot5buOznVNaf4DcdzBuS7Iq734f4uRvaw==
                                                                               Case 0:23-cv-61203-AHS Document 34-2 Entered on FLSD Docket 07/27/2023 Page 17 of 34



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                              Evidence Collection Report
   Page Title
   Amazon.com | QIPILON Lightning Smiley Face Slippers Leopard Print Smiley Face Slippers Retro Memory Foam Soft Plush Slippers Warm Non-Slip Home Shoes | Slippers

   URL
   https://www.amazon.com/QIPILON-Lightning-Slippers-Leopard-Non-Slip/dp/B0BDG2XQXX/ref=sr_1_288

   Collection Date
   Wed, 26 Apr 2023 06:04:41 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:5::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   khT2Uj8Pq7DtocLeLBjiIjWFkCgXxj4KsWCOtWkHUllo/VoAS/mh2ZMmXhb2JuTAUTRC5FpxLUI3lcYm/i72k1o9lmL/6kfUudBcB2ILGW3HlD6Mwkexel6Vxl3XiyxehyE2QnAdf2aNR6h1Ku3klSQvGyLQn2zx4LdkU2yJmH0=




                                                                                                       File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]QIPILON-Lightning-Slippers-Leopard-Non-Slip[fs]dp[fs]B0BDG2XQXX[fs]ref=sr_1_288]]_Wed,-26-Apr-2023-06-04-41-GMT.pdf

   Hash (SHA256)
   b5392e95785f15084cd23c5350cefd8cd862bc9955abc1c176d3022c4ce8a9c6

   Signature (PKCS#1v1.5)
q3xn2AZJ8HZlbiJkP0vrwvm0Vx/X43WEHzBN4ELr6YbBmbJ0fpYhm0rcKUGPh2U1czldrT5jMF4oSVJPqk0mhu0HujT25L+RWjexgvVhWSIyAtrDvyAiL4aIhxW1m//pZcLisjtWFspDHerJd9J8bagYn8nR1jqSB43QM66nQkI=
                                                                                Case 0:23-cv-61203-AHS Document 34-2 Entered on FLSD Docket 07/27/2023 Page 18 of 34



                                                                                                                                                                                                          Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Wed, 31 May 2023 08:26:05 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   111.92.77.63

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   RbkUx/xxjcMTqcltlRhcelzB1bMtXVrb6Qx1W3TEqFs5cLvu9wud68Na5XosDiuzfNVJMAtwyLS3m57CwpdrbcnPhyIKNCcWRw9dMUIU3Xv5uhUUpFNN1lSc6UbnzN3ZqEvgMTLfIddy77GeBSldYqlwbKN961IfwV/
   UI3sORr8wPVj762rxj6kG6T1dyBqN0I3PLFDVtilGPUAq0SuyVWy6tWq7Gd7oDoZpCNZAgDjPsXBDxkBUKQRn5/imJSsKLc0ARPXRFM27/js1gyjD88xCEcbV+TN9IxBzv3gwYXIArJjkJ0PN5isgLyCxzpfkpEJy7JH5UxAS42wkMV9MBA==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Wed,-31-May-2023-08-26-05-GMT.mhtml

   Hash (SHA256)
   ac3225e7edaad40437d3afd73e5b4a34aef52d534930a3a1afce894cf87041f0

   Signature (PKCS#1v1.5)
araOIj+/I4roBHGCxicykMheKUf2tJbmkkDhCZii76oWebp26FrsOFJ34d1hdMp5Gg1L+HNxcJrh7Jpo/5U1M+GrrldBMSZl87sqeEyyzQCRTYQfxg7iOJqNXfphvmj89eToJJqfUL9T9U6gdXAXdTGYDJNJ5rkUyjze9+02hKQxhVu2KnKHk93RQ1pMhmNMTvv4wyE
+rMKTL6LIATdOgya1wpvGjXAl/2Wdh4ZT3MX4KFLlRDvme5hNd6df9Qlc+5TXQ77k7/rvKYBXZGT2FZa9s6yOlVdphmVy9NloLuEZswmOPpqlKTzWL0CVTYCCFG1kUT4gPx0NtvIhrp3Pug==
                                                                                Case 0:23-cv-61203-AHS Document 34-2 Entered on FLSD Docket 07/27/2023 Page 19 of 34



                                                                                                                                                                                                          Investigator Name: Chris Stavrou




                                                                              Evidence Collection Report
   Page Title
   Amazon.com: Anten Pink Gold Smiley Face Necklaces, Shiny Sunflower Gold Plated Necklace with White Enamel Happy Face, Fashion Preppy Jewelry Accessories for Girls, Women: Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/Anten-Pink-Necklaces-Sunflower-Accessories/dp/B0B92DN9H2/ref=sr_1_201

   Collection Date
   Thu, 20 Apr 2023 05:15:50 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   GyU1ZNfwQH0LWvbU6cGTltwp7NhdVcCDMOQ5DKWiQNHwBPavXkqa26PEQIc5TAD6W0yUjEzf5mmWFT8qicvBfc56n9A0nPRVh/K6Nc1654GTF23IXNBPk6+8o6yoYU09e84NlU+aPWy5YtsewsQYSYxdlSLmpGoOfVLCPyXdEoM=




                                                                                                        File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Anten-Pink-Necklaces-Sunflower-Accessories[fs]dp[fs]B0B92DN9H2[fs]ref=sr_1_201]]_Thu,-20-Apr-2023-05-15-50-GMT.pdf

   Hash (SHA256)
   97ef694324ca7d47a4cee246d0d8e5a5ebbd43516c555cbdecde3ce10c466a59

   Signature (PKCS#1v1.5)
MzPL2aHPHYZZLukoIieRA2WKlmRiFR+YLVJY2WLzlRduGMFsCpsMUlg+xi2l0evOqVn7i27MlUyDr3xA0BN7C3ueDHYwkMmTai3RcOyOn3G1CuOPnHoMeSLvKa2w1WSLK1KAskRkghdU6dWBGOS73NlRH91pBFOfa18IA/Byg08=
                                                                                Case 0:23-cv-61203-AHS Document 34-2 Entered on FLSD Docket 07/27/2023 Page 20 of 34



                                                                                                                                                                                                   Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Wed, 17 May 2023 14:46:38 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2001:ac8:9a:d::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   EdFgqCYCAhixhbSLm3KjgN3v+f1VVh8uE7rjqwECWbHdRNMZpnI4TdlxATbOdYjbdFopTfOrCCf19dHZ4NV3xWAsOfmpE8jGsKfWyo/tGX7FZpUcEkuZvkT7WIr1lDiFjF/nLyOm+6Zh89viplQrqaMito8B63k/gth+zvIDdk9cnyub68W
   +0MPINvsBpHfQTTq3dmqh9DILQISTA0tJMdgKZRG2+TsHONI9kH/S8d1kumVqBKk8+7HM2MOafbHjqsKyUCj+jVomgr94u82IqAq4BNOUSrQO77qttNvbdbwFM5jQjevKRxeqmwtsOH0nwm4Ec0ZjgmMpddByZs33TA==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Wed,-17-May-2023-14-46-38-GMT.mhtml

   Hash (SHA256)
   4ea59a7a0d2a4f173bc2ce4ff9c93951073e7ca2cccbf287be30d40a4e5a7db1

   Signature (PKCS#1v1.5)
YzUOS5FzdJzCk4bvqeufwz7v0CozXAQ9rfcaflQ9SlxI3pyZhBeGw3v9gi2OI5A8oCDVYOfADdSB3kL0EZtJ3Zjq2IINcrrSdE5lJlSlPLLNMaG3l/BrmMsf6siAfjU/qpRMK3QgMgL9Y7KJQMiZJ/KDRYlxFdcMDLQkS3gZNx1AQfxBTEtkyQz6RgljAcl/
Hf23StW3Ep3IsY3gUajiShqfttR2I6M41Eh5ePO4Z1mUzYi0u0bW/4zuQshk1EJbXCRQANnvQ/KdOonQOZnN/IPKil/bdKgoqF88Mm7hSCFlBM/MOvfMl/5ENR6mg0sFh3DiwDeIq7/CwE6NWgHmaQ==
                                                                               Case 0:23-cv-61203-AHS Document 34-2 Entered on FLSD Docket 07/27/2023 Page 21 of 34



                                                                                                                                                                                                                        Investigator Name: Sarah Christodoulou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: Anvin 35Pcs Smiley Face Charms for Jewelry Making Colorful Happy Face Pendants Assorted Cute Ting Alloy Charms for DIY Necklace Bracelet Earring Keychain Making Supplies Craft for Women Girls (10mm)

   URL
   https://www.amazon.com/Anvin-Colorful-Pendants-Assorted-Necklace/dp/B09D34DMG9/ref=sr_1_10

   Collection Date
   Wed, 14 Jun 2023 10:47:49 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:36::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   lwdPMySDoTmhRKIrWHAHT/49ViAdLlh7pFYVH68+f3TCRmz0wZWZGqgaLfoGbsUhFUKrCJnC8udpXTYlD+3HUVcL7xK13mRl0RsIsY1xFAJiF8Kty8AWE+vIJRZ9GAkkD7+EqT8xslwe4CGeFxaUMX7XTWHyn/4XQaPdMaCr4GY=




                                                                                                       File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Anvin-Colorful-Pendants-Assorted-Necklace[fs]dp[fs]B09D34DMG9[fs]ref=sr_1_10]]_Wed,-14-Jun-2023-10-47-49-GMT.pdf

   Hash (SHA256)
   9033d0266a2c1c7d608e81546f400e0ce3c739efaf170070d7341e44473bda79

   Signature (PKCS#1v1.5)
c6yyCsDKVEW3RNYm4n/pVa+wzBPXQ/oxs15NTtw1beE3z929khnNPhZu2UeYko5bbDbkos2C8vWVL1GJyQdm5Oen5RJk+CLqw6zObPZvHK/FffZU7gEACCO5fdDMeSB9zyJAQywnLC8rHpvWhR/akvu5B60bU2sVuz0BCsLm1TA=
                                                                                Case 0:23-cv-61203-AHS Document 34-2 Entered on FLSD Docket 07/27/2023 Page 22 of 34



                                                                                                                                                                                                                   Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Thu, 15 Jun 2023 03:38:33 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2a0d:5600:8:36::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   dgiWbnG3zySRaS3NjJSFl5IAwyenbNCoC702iYlOkvNM02zQv1r+8N/5Mi3T8z0DjQuXO9Ep+7ojtjrQyp3jr6qf92QraP51S3XaycVxN/
   +pkZFB0xrP5GyMpT4jAkAl1lOyWo1YzyrlRDHMLK2aSCJf334Bn9Ct2UU9pQJjiPnWusAVbSuJQkAhBL7RuKNvxBelKDsT2RR5KdRZZFEYmFzU08MQW5ZccLIhKJHkT+hsU7LaHeUGQXXTlnMQDgJFyLUNIo4XMq7gK00vSGMNAjdXmQeS/
   B1e804bNQfVkffphxL2lnyICYQGVAbKcmaqODDka2Xa9w02LevA62zBvg==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Thu,-15-Jun-2023-03-38-33-GMT.mhtml

   Hash (SHA256)
   82e4c5a538e4e0c2b2a806be0b0925f825075a1f932f957961ea4032c5737cdc

   Signature (PKCS#1v1.5)
cKmkE8T+7F11SiUwHpLhMi+isVogmqYt6h3MHgvpcuPjFu5jTO/NuH0pBPJs/Or0ek16vn1JyoVUzpo/z1MhltvIeti2b+/D7j3SxjIy+1jicp8sA4qNfiWXB3gLJ9ITAB8qLPXVJRyWVHKKr8BWiQy8L/E51bws3vY/qiaSKhy6vmRNWovidqrbtnkDhDW4/DH0qeJmmcsyvmfDCuiZH6MzR499GK2U/
yOTvZFqoOF0ZSnyPirqQ5AWXxOCanHXuBr73pDZhWbvsUz794zFZvzPQUlTh/LJRtCMx4it1emlfcQJ4kyjHLeM3gHd/90Q7wnP9gT2tYGxyoT4qX+q/g==
                                                                                Case 0:23-cv-61203-AHS Document 34-2 Entered on FLSD Docket 07/27/2023 Page 23 of 34



                                                                                                                                                                                                          Investigator Name: Chris Stavrou




                                                                               Evidence Collection Report
   Page Title
   Amazon.com: 12pcs Yellow Glitter Smiley Face Iron On Patches Sew On/Iron On Patch Applique Clothes Dress Plant Hat Jeans Jacket Bag Sewing Applique DIY Accessory (12pcs Yellow Glitter Smiley face)

   URL
   https://www.amazon.com/Glitter-Patches-Applique-Clothes-Accessory/dp/B08C5JMFPZ/ref=sr_1_22

   Collection Date
   Wed, 26 Apr 2023 07:23:22 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:5::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   FWV9GhKcbey65f7YQ+/Y1STVJQ2T/RZf+F57NGxPJp2dn0YMNPAV9Jpx7Vpvv96iGl8yAqwzEtM8KUBcngF3cdXNqeLwSNEZ3wcFa3YW/9BbKrOTlm3EgK6/5KpNsk0LfByLXoUhEITUr02r2dSzTtrmLmYkRtQSwDW/upVwATA=




                                                                                                        File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Glitter-Patches-Applique-Clothes-Accessory[fs]dp[fs]B08C5JMFPZ[fs]ref=sr_1_22]]_Wed,-26-Apr-2023-07-23-22-GMT.pdf

   Hash (SHA256)
   117fc142f69b3b7f007d42369a493eb92d346d98cd48ab492f32399d554bacc3

   Signature (PKCS#1v1.5)
DqiIQ0r3Bc1AWNBbboPjoUS2UExTsUUGIfP+InGWQsoZa5LS7KGA/1MuaBesjbpcooqyWkcAaXL0iaF9i2YBbrhIWZiFtaU8sMXN/c+ynXyZI+2e02L9tm3Z88LePzl65PI0Nmoz54nqbGORpk+1PWuUE9E3NjdAqcN/HVWnGKg=
                                                                                Case 0:23-cv-61203-AHS Document 34-2 Entered on FLSD Docket 07/27/2023 Page 24 of 34



                                                                                                                                                                                                                  Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Thu, 01 Jun 2023 04:22:47 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   111.92.76.63

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   Cai+u6dKcx+MVzrVklJwQRxJW3M6Z/tlwHgQ64TXnueI4LzC1zLlONr2iW8KrQa4qjZOghujV77cijBzH8oBW29GVKwE/6YeFBAIy3DXtMPAJ1iyT+JXXvdkJe18uy4mRVF40USz6LpShFFhDgXngU00il6lNSu/e9mkh9x32zGxCdDcr22IWnjP9xcw8zNetmeI/ZC3tl0I
   +V8ekM3rwemdCDemm7HvjWioPfvD9ZrPZQthi/aGM4D55mCxK6sBXa+CgPn8/94Mkfwr3Pxtg5Lg/MVV0tjrEIvM2bxcjTawSyeeCCmG2fxY6m6YsUqPgAFORsdjY6x+6hJlF6sdqQ==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Thu,-01-Jun-2023-04-22-47-GMT.mhtml

   Hash (SHA256)
   5fa45c7e4cab3b4e1ac4fcae013b8fe6401abed94779ef106318af66f5c6ace7

   Signature (PKCS#1v1.5)
o3ZDMGPRsUKDuG7NAd1dTRIGtPoUaHeklFGddw3H5a5ujoY2SXQt9Geido/hHMaNwPom8dgZl14YntdvViFLeiZL/L2BXQJfjo17y6rp6WHANV6nZO6t/bTJGvJpHKa81F2DGnxv8qf0MedjwOmSlCaaoy6ewH1F4lEwU6ecyU+8YNd0CH842whemJsNmAp45FoOTyp1M4x/
VmYjfB43p70XtbLzrSwbWoN2WnUBVoUUZTkPViQc/oKWQmoqTBbirZdz3SDQC0poT66L1JuIHaXddrkhabAHRy+NAO8yv1VXyO2HKqA53xgqoj/Q0aP4YF4Qz3iQZ9lC/s1qA1wBmQ==
                                                                                Case 0:23-cv-61203-AHS Document 34-2 Entered on FLSD Docket 07/27/2023 Page 25 of 34



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                              Evidence Collection Report
   Page Title
   6 Pairs Smiley Face Socks, Cartoon Smiley Face Socks, Smile Socks Women, Christmas Day Socks, A Girl's Christmas Gift at Amazon Women’s Clothing store

   URL
   https://www.amazon.com/Pairs-Smiley-Socks-Cartoon-Christmas/dp/B0BGXP46J9/ref=sr_1_46

   Collection Date
   Fri, 21 Apr 2023 08:17:38 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:5::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   i2q6BrqiyA5/LyovJtZBkK30wzeKQLuHOrfzlSMgztwJvbcSETySs0f7uGTJ2VGyGoDUq/gw0M/M+8HI8R8dvq96+qpncJnalXis3hc3J5+wMVZo1Aqb8RbF4p48bxnLB9jKwggqUsPZc/k8lxjsy+KCUCSD96FjgLdDbtcRq4g=




                                                                                                        File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Pairs-Smiley-Socks-Cartoon-Christmas[fs]dp[fs]B0BGXP46J9[fs]ref=sr_1_46]]_Fri,-21-Apr-2023-08-17-38-GMT.pdf

   Hash (SHA256)
   6069b4457ab9d7afa4c8b2df195ed913866601ee699ab28d48048e7cd64fe2fd

   Signature (PKCS#1v1.5)
OvKkEBQN5/fja65bUjVnyAKgMoLZcGxRNlmcVifk9vrWBVpivEw56YyGpSuJqAHEDcqZlMgCVauQcMo/ZZp17iIbUbxM9l3dwmOGpv67FKTHl2QtPZP+3hyqFQ+rx+ey3I6gKFNHx+CjsmZTBSeevXDGCTMw8hkybvZoseYoCdg=
                                                                                Case 0:23-cv-61203-AHS Document 34-2 Entered on FLSD Docket 07/27/2023 Page 26 of 34



                                                                                                                                                                                                        Investigator Name: Sarah Christodoulou




                                                                              Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Tue, 23 May 2023 06:02:37 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:93::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   MGBEZoAT01AvvrPq25p0J+Ca1C2rOG5IhQw9SU+exgahT1+3j8aU2mqgYKIXoFRB+bDY1M9Ht0iYJlNBn3PW12xVZu2oIp61tKVfA6F/ZhE9GPmKuTzryNYkzfXf+9TFD06N5gi63JhADf2cQlmytE9kWIjfGvPENWccY1+xHL87dju9cWf9N7WOBWVBStxPx6l8X2bruI
   +AnpZMi3YLsOEAOBoqECaJ9BIrrOcWEHRcacBOFgW1hHi4kzMz8MHxoBvPtPmR39ovnDAow3Rjh70DYdxl/DUYH0b5/Zx8kq00NLEKYGVzTIpM19JCMHN/2C4i/oG1frz99avNB6pYrg==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Tue,-23-May-2023-06-02-37-GMT.mhtml

   Hash (SHA256)
   3d4603847277d70973d5056452a94ab152a8576ac121b25e76cc131c2a1da2cf

   Signature (PKCS#1v1.5)
SZASWyhS9poZ5KdN3FRPFOBbAOMddL+sUt03ZwvsoP1SqwCwiqRL3MGAHnEZJ/yo5Y2Vwj1FIZuuuFKT/xnnvCXEVjaQ4xt54pXW9F8wHW26s2X3R8WKpfvsZAt83EGF4kRBsAmcGXENyDRVvfCFoN+wDBUL7FjqEbB7ukdmebLrazSkPe7Kt9G+gs19kRC2AQHfj3+Hr7oT3g8DczJlCc9EG
+2xAr1iQuZ7zRiy/ekWtxc5iRNNLFvYJXpaYawdQZzPKZIOTpW5ug4TMZ7Si8RpTIJk7flNDXm96ZZusbUSHqLA7PGyXLe3k6zMohchLXWdw9AL+bVqT6G+y4Cpcw==
                                                                                 Case 0:23-cv-61203-AHS Document 34-2 Entered on FLSD Docket 07/27/2023 Page 27 of 34



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                               Evidence Collection Report
   Page Title
   Amazon.com: 5 Pcs Smiley Face Birthday Candles, Smile Expression Candles, Birthday Cake Decorations : Everything Else

   URL
   https://www.amazon.com/Smiley-Birthday-Candles-Expression-Decorations/dp/B08YF4QRP2/ref=sr_1_160

   Collection Date
   Wed, 26 Apr 2023 05:12:44 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:5::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   ZUkPFFYHgDkT0h7Cr8YFY+ZGD52U/A63IgUKtA4IQuzFOIfgmKogcT+fSsYbZukFPUd1nuT8Xlc3nGHteVp9x3uFo+fK2fC+CHV+3OMyQP/RH8Ji8Gb0/mW5yFS5m0pkQEY3ToERMr8gJRuWLq54IsY4DmQZStng1mTeWRKk5V4=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Smiley-Birthday-Candles-Expression-Decorations[fs]dp[fs]B08YF4QRP2[fs]ref=sr_1_160]]_Wed,-26-Apr-2023-05-12-44-GMT.pdf

   Hash (SHA256)
   8a52d97ca69f3ab4c2c85cd3d6b59e5a9f13736967c9c58432425b24acd9a1c1

   Signature (PKCS#1v1.5)
DK763zgsYM6pTBFbPC//rSMVKg91BKPZPcfOEp9fOqlQ4SpFLI56gkaZE+a6BRPaJNi4c8dFVlUkDPVfgzaT5Ev5mCQlM3zx4ZmCVfTCF83koz4p3LKx+zxLsmH2ZjR7k01z4bwt09sW9jeJfUajcYzx9lJfdoy6AIhOFtnxVJc=
                                                                                Case 0:23-cv-61203-AHS Document 34-2 Entered on FLSD Docket 07/27/2023 Page 28 of 34



                                                                                                                                                                                                     Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Tue, 30 May 2023 15:18:44 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   202.83.40.142

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   QWDZBzj2zU8k8sXlE7/wUdZkCepXMS7Ef2KY8Ri4cbTwPmCpMsUo8EybDycNLP4VAEgblX7tP7JQQxJGTqoyqAYYsjIbpzantCL6YofR94lQ1H6w/WpJJbq++iv9yYONY9r/VFjDGQ2m9DB/d6EB2DcqBNCB4+EYssrMm5ONOt/
   BvJ6vDuQaZNa6ugZe35+iuIRPPy5DYgvYgeKImB8Nh1EsZZG99CkA1DnKi28NmpQmGm5CXyMzbefBzZ24bj9RWekPnoBTF3MUzw1+QR/ARKTgeLy5seUZPa8FNc85rU7adLaGYCfIrkBjyq+DYPZhf1cflEfK0OIBn6x/9xfpdw==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Tue,-30-May-2023-15-18-44-GMT.mhtml

   Hash (SHA256)
   3e2e70b018b9f4b38ee37d1e15601f589ea392043c4501b931f9b2d64928108f

   Signature (PKCS#1v1.5)
WNxCFSblFc5jr1VgmCgrG8YVmUWy0YM3kqlxRfwnFiAnPkjcRZKGrvVKic4f86lM50kz33n7aNbxyi+9jLqeXTKqHPqkRo1OMUfXJjrSkPqE7bjAkf4GJdAEyU4heWSbFNPgUS5Te80AASNjf+kWvo
+cCCgWIHpCDPZ82ODHjqkH1z42dnoqLc4T309ZY3WUaZSSpa5LhAIJMHadSqwUWvsPhid8h0qm4GU8y167HjqMZUxR++z39bqvJMeiRCuMw9tUsnGWhV8tZ9RaeVJBWEdALIUs6dKmI/dGYfAacX6zMNvj391KCxDwjCRbt2RRnNg8ybj/laH97+48L9ZP9g==
                                                                               Case 0:23-cv-61203-AHS Document 34-2 Entered on FLSD Docket 07/27/2023 Page 29 of 34



                                                                                                                                                                                                                      Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: ARETIS "Fun Flirty" Beaded Choker Necklace Smiley Face Pearl Necklace Baroque Pearl Choker Necklace Colorful Boho Cute Jewelry Gifts for Women Teen (Smile Charm-NE-Bead): Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/Necklace-Baroque-Colorful-Jewelry-Charm-NE-Bead/dp/B09KRP53YM/ref=sr_1_104

   Collection Date
   Mon, 24 Apr 2023 05:28:44 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.113.27

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   d9iVDLc1K/n0n8V41FMVXNndECwmTCtHzUwEriNNzitoMFgxkFUavni4UFIaXPg28im3XQ2lSdXmMwm2TlQQuLEwlSSR/dAZLfy7DexoBesMeegOZSLyz5shVJzS+/9Otc0y78vk5xr91iW1UiNcHhBF1aG1MqCtur/bauYpuz4=




                                                                                                       File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Necklace-Baroque-Colorful-Jewelry-Charm-NE-Bead[fs]dp[fs]B09KRP53YM[fs]ref=sr_1_104]]_Mon,-24-Apr-2023-05-28-44-GMT.pdf

   Hash (SHA256)
   a1b495e4c13cf3fdc8bd592b7231864609e8f6a31ba4e722ab513e4726cee0ca

   Signature (PKCS#1v1.5)
YMjx8NWk9yZEKtvMAmmD+2tKuO7daX8s15k45J9NBDTE7c79diws7XnEgXiHrXPE4V0F0DqBE/AOWQTPYWBuVyF0ue/NxK9yJsr+Yf/hMRfFbLQc2Xub+F5Bpk6PZuthItU1rp0e+UN5maTOg1CPC3gH+sg/XljPJtBerIaz6fE=
                                                                                Case 0:23-cv-61203-AHS Document 34-2 Entered on FLSD Docket 07/27/2023 Page 30 of 34



                                                                                                                                                                                                                   Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Thu, 25 May 2023 00:22:11 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   116.68.105.188

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   Dn3D0UrcwCVcsGpm8vnwgKod8Ypuc/07x34ffg6w768TJL3FNoAzjckSIePxQmyMh6iyMAUqdi1Ci0N2DFpfL/30xKu48QR0zgG/2wb+8LzPpUL0lOc0oY0IcPz+Wy7RQMv+b+xASwvalbvxCk3mjJlcVymtTratmFrzT18bbcX/
   z06nXxb6hCmysvy1okl1WaHVj1U3w2etQJEAJL4saHKOjlDsZbwe3cbSxY4FtvbJntdbg6lyxSmOFbpBWLS6dkDFDELOI4DE5B99JIM6utRyC/xUKOXWyKJcuvNdO/ABRzyYlvTjPkyKN5EnvfOf5T/VyXtoWG0PSBdPJYuOFg==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Thu,-25-May-2023-00-22-11-GMT.mhtml

   Hash (SHA256)
   94e88856cc7080eba4f496a64cfd89d48dc778b8e035c66898bf0ee1f5ffea61

   Signature (PKCS#1v1.5)
m4UV1kLnkCb25MlrO/v8PhN4VBRQlVLz1QPluPN40RDs1bkIyouFm8dMXjeSWrLMvcQpH0Lmk8s5O+I9hx6padoTVxI4g0iuDx59jjSmtfW786Iv9oelsrBGHkhjAD2wdPHlH6LTixCr8trwwhBpgQztfFwY1sCA/pVC2oIuV8ofCXGPbrCSFd+Aj4CDalHHai3UsPvrTU3LKrEu3bqTTM
+shhrT1PEU4F1viTn4AvOJS+vY0hIqCzOYYoUH+v/WEdaqAxXXjlz/QAS2Zwp+zBhA6/SlBcgx13uVukIOCLpTn7QUGmX7t3kPkJyBng+2FhZJtxloUGzoJTP+7K2usA==
                                                                               Case 0:23-cv-61203-AHS Document 34-2 Entered on FLSD Docket 07/27/2023 Page 31 of 34



                                                                                                                                                                                  Investigator Name: Sarah Christodoulou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: JOJANEAS Cute Beads 12 Colors Acrylic Smiley Face Beads Bracelet Making Kit 240Pcs Fruit Flower Polymer Kit for Jewelry Making Beads for Bracelets Making

   URL
   https://www.amazon.com/JOJANEAS-Acrylic-Bracelet-Polymer-Jewelry/dp/B0B8RV96BX/ref=sr_1_55

   Collection Date
   Wed, 14 Jun 2023 11:11:17 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:36::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   Q0+rfZN8iRpzikuIqMrU++VytNhHSXJuMDqK0H3z5/nu6FR6x9sTY3gWlyo01AsKE4a3c5Xrdk07VY8EFQj+ZE+pUTdGZbaU1Ohl3VBCUKVuAdL7ugAk/QcCxXJRl8hllm7UyC+MKXWp+ps4l19mOMtD6pNn55WYPXCdY4LDTzQ=




                                                                                                       File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]JOJANEAS-Acrylic-Bracelet-Polymer-Jewelry[fs]dp[fs]B0B8RV96BX[fs]ref=sr_1_55]]_Wed,-14-Jun-2023-11-11-17-GMT.pdf

   Hash (SHA256)
   2ae3cf3015ad99c0e2242887ac059a50ab9303ea2f72b8e219584c79c8f09a0f

   Signature (PKCS#1v1.5)
IoCU3ewbEHgFgSQ0h2/YCxZJKODSv2Hq2YOgVrocNjwlz+ugMZS+L0pgHWyZYQZ74GxwK34nvs1fPEUhSGZittuhOgqnaESktG9lwaN8N6AR3yrlBELGsboZ6/n3CwU8cTm+eYU8Rwagoih5TXe30WjzAnJ1gyxHWiyptuQ+gRk=
                                                                                Case 0:23-cv-61203-AHS Document 34-2 Entered on FLSD Docket 07/27/2023 Page 32 of 34



                                                                                                                                                                                                             Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Thu, 15 Jun 2023 09:02:19 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   202.83.41.44

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   A+1JOJTAlgzb88kZG1ZKidg/vPC1cNrHJd/2sedRy7tb5oey3ZbDwkosYbH7gx4TTws648GkcUn4eoAXZqjTVxl7rRBiQknnJ/hmOJOck9v6RSSO4Qid2GGJa7hBrKmx3Uvi4siJhfbU4cmouf6ybBqDFjrswS2FcDu8esvJGQB/SUsD8qlUq/
   rmlISXsfIXPfHMXHs77npQu6qVxMP4rbpFEXqzmJIHAXF0mQzSoJeRrBSyjrSghvqGwHujDA/r7aDViJfur2+Kw8OPHg4m1SRnN82ztUcYq1GX6ahbSjMgOX/l6gakL+jJDBvHn8w5Q2mvxG2sv5mWnPiSnyjiPg==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Thu,-15-Jun-2023-09-02-19-GMT.mhtml

   Hash (SHA256)
   a96d37261b3f2efbb903707c86a0237da58be6c5f8f0367e6274e1d1ffe3830b

   Signature (PKCS#1v1.5)
I5+zcCEAWJPnnv9uNdpO3u/uOyghbYpuP1Ct3zaWwgWZBfTf4e+QAtKT8n48fXkWBJ6J/9a9HRL+ECqjAA+s2JROWBIJddeMmCS2QAYPim6i6JUkXtuI27ql9GWZra+uP+3NOidTsMQKSx2I/Lgwm3mSy03jTjhEKwvj18bspJoHkCNETuRR6Bq9oXMjM7OEPIzZOVH7FyIqpt02JHCcCwcDMvTb/
EDerL2qJkYe+mmI6SoJJ5CUOC63MBi5fsR+d1yugsOanIAjTQEW+0lzd7zbsV+1GfsKpY/jjL+5+PtOLUeg21A/CoE98NUl4KkzI/hfBqJxNV3V7PZDOVOyhw==
                                                                                Case 0:23-cv-61203-AHS Document 34-2 Entered on FLSD Docket 07/27/2023 Page 33 of 34



                                                                                                                                                                                                   Investigator Name: Chris Stavrou




                                                                              Evidence Collection Report
   Page Title
   Amazon.com: Aruiliya 2Pcs Smiley Face Pearl Choker Necklace, Layered Paperclip Chain Smiley Face Pendant Necklace, Paperclip Chain Toggle Clasp Necklace for Women: Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/Aruiliya-Necklace-Layered-Paperclip-Pendant/dp/B09G2CYDQV/ref=sr_1_194

   Collection Date
   Mon, 24 Apr 2023 06:12:30 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.113.27

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   ZzpwMZUDz2jiGuIlUUpi21CTlOIwJ3FYg7Z1IVMhv/Gmo1U3/666UPGNAEJtOaIULZ1G5jhyVEO1L3iEVTzLezpma7+czpn3jy8WocKLTMheDFnJ2yCL2ldk4FngUjsT6kb4zfZU2rFKRkr7BnilKyayQhwBCuYIB3/DUdXw4H4=




                                                                                                        File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Aruiliya-Necklace-Layered-Paperclip-Pendant[fs]dp[fs]B09G2CYDQV[fs]ref=sr_1_194]]_Mon,-24-Apr-2023-06-12-30-GMT.pdf

   Hash (SHA256)
   159b4eab165c0663d0e72ce649840398e511111060c88ed7bf3db68918bae52b

   Signature (PKCS#1v1.5)
W1wbBiHoT4Ff6hQfSk18JEzseOyRUTlKS0lHLz/YJpacLmE1tIDuT/5NmtT1npGTZwfRfrdriZI/FlTjA28B1eZHPk6qQKDjNrHHUm95csyG8SatEUXuLdGPb0Lh4D7v6moeZOPI3UqYTG0AyaHwLY5nJ6dg5cAXCzicwn9DjX4=
                                                                                Case 0:23-cv-61203-AHS Document 34-2 Entered on FLSD Docket 07/27/2023 Page 34 of 34



                                                                                                                                                                                                          Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Thu, 25 May 2023 10:33:01 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   116.68.105.188

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   o7QY5ubIKS7r/fA6mHK/XksbCJMvs82WYot/EuZjCi2tJGoIWVDcm3v+RtNGwOtQEAyJfFRbqMCweyoCpwx57V9tSX7zXfuPiJnHPMgRMxYvYY7WfY3o3nqTeOw3ptkIJt04ZzOvLjgIkn+I2XNPVxG1QZLRyaI5bLPr9CEIBZOr7oqQJ0mZMs/
   uBRka8podQsj4zM0RVjImVLhiliRZwhd1aBd3mkZfbOivFHqnpQsSvFVb6AL4GHx8OHxcqkqQxO+WxbwriOk3v9RDXYYrr2Qgx0SYeEa+e+ty4/CXlvPxognuMQ2jfr7BZBT51OLhCNadwciPbEa8YcbjCOubTQ==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Thu,-25-May-2023-10-33-01-GMT.mhtml

   Hash (SHA256)
   b4bdef4cbcb7595dad8856ab946d55ebbe0b109e2633883405957543c3a2a8cb

   Signature (PKCS#1v1.5)
S6YEwbVopQ/XEVNQRI8RWZ4Q7xt496A7vRNq+tPiJPklX2EXk2VJz4G1Neg+yzDV6ptQSUDq3hJVOuPxLZPiY2WfHJFmfNEq4g70cVBr3wboPWjrPDjuwLm0gKeKXMCzjCo1E8x53ROPNLK0Xdb+pUUjLaaDOk7NMJzxx6xpBkTUAKwzzgVJRMep1iCmUL/zXCZXFRY0BGhWQH/
cWAUkOTrnvij2Jel5KBbYc7Eit9byTnLWUWqlAPSKscJFZVDIQBM4VLCtgvQZkqj3Js73VQ7flEH6yZwwQhgBZnwM0WfPYxeeuoQ6UZsVouqBbHX9I64FfIKczBGRc0h7QmEM0Q==
